B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                          Eastern District of Wisconsin                                                                            Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Pulera, Steven Sr.


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-8577
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  7521 36th Ave.
  Kenosha, WI
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         53142
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Kenosha
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                                                  Case 15-20109-svk                       Doc 1             Filed 01/07/15                        Page 1 of 18
B1 (Official Form 1)(04/13)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Pulera, Steven Sr.
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Ryan A. Blay                                    January 7, 2015
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Ryan A. Blay 1076006

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                    Case 15-20109-svk                     Doc 1     Filed 01/07/15                   Page 2 of 18
B1 (Official Form 1)(04/13)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Pulera, Steven Sr.
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Steven Pulera, Sr.                                                               X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Steven Pulera, Sr.

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     January 7, 2015
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Ryan A. Blay
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Ryan A. Blay 1076006                                                                     debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Lakelaw
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      6905 Green Bay Road, Suite 101
      Kenosha, WI 53142                                                                        Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                                Email: rblay@lakelaw.com
      262-694-7300 Fax: 262-694-7301
     Telephone Number
     January 7, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date

                                     Case 15-20109-svk                     Doc 1           Filed 01/07/15               Page 3 of 18
B 1D (Official Form 1, Exhibit D) (12/09)
                                                               United States Bankruptcy Court
                                                                     Eastern District of Wisconsin
 In re      Steven Pulera, Sr.                                                                        Case No.
                                                                                  Debtor(s)           Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                      Page 2

                        Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
             mental deficiency so as to be incapable of realizing and making rational decisions with respect to
             financial responsibilities.);
                        Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
             unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
             through the Internet.);
                        Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:            /s/ Steven Pulera, Sr.
                                                                                       Steven Pulera, Sr.
                                                       Date:         January 7, 2015




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B6A (Official Form 6A) (12/07)


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  In re         Steven Pulera, Sr.                                                                          Case No.
                                                                                                ,
                                                                                  Debtor

                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                Husband,    Current Value of
                                                                        Nature of Debtor's       Wife,     Debtor's Interest in             Amount of
                Description and Location of Property                    Interest in Property     Joint, or  Property, without              Secured Claim
                                                                                               Community Deducting  any Secured
                                                                                                           Claim or Exemption

Single Family Home, PIN#04-122-12-227-007                              Fee Simple                   -                    99,500.00                107,933.00
Value per tax assessment
Location: 7521 36th Ave., Kenosha WI 53142




                                                                                                 Sub-Total >            99,500.00          (Total of this page)

                                                                                                        Total >         99,500.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
                                        Case 15-20109-svk
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 B6D (Official Form 6D) (12/07)


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   In re         Steven Pulera, Sr.                                                                                            Case No.
                                                                                                                  ,
                                                                                                  Debtor

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                             O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT          UNSECURED
            INCLUDING ZIP CODE,                              B   W           NATURE OF LIEN, AND                           I    Q   U                        PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                           DEDUCTING
           AND ACCOUNT NUMBER                                O                                                             G    I   E       VALUE OF            ANY
             (See instructions above.)
                                                                 C                OF PROPERTY
                                                             R
                                                                               SUBJECT TO LIEN
                                                                                                                           E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No.                                                        05/14/2013                                                   E
                                                                   First Mortgage                                               D

TruStone Financial Credit Union                                    Single Family Home,
6218 26th Ave.                                                     PIN#04-122-12-227-007
                                                                   Value per tax assessment
Kenosha, WI 53143
                                                                 - Location: 7521 36th Ave., Kenosha WI
                                                                   53142
                                                                        Value $                            99,500.00                        107,933.00               8,433.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
                                                                                                                        Subtotal
 0
_____ continuation sheets attached                                                                                                          107,933.00               8,433.00
                                                                                                               (Total of this page)
                                                                                                                          Total             107,933.00               8,433.00
                                                                                                (Report on Summary of Schedules)

                                         Case 15-20109-svk
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B6E (Official Form 6E) (4/13)


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  In re         Steven Pulera, Sr.                                                                                                 Case No.
                                                                                                                      ,
                                                                                                Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             0         continuation sheets attached
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   In re         Steven Pulera, Sr.                                                                                      Case No.
                                                                                                                 ,
                                                                                               Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                                                                                 T   T
                                                                                                                                                E
                                                                                                                                                D

Account Recovery Service Inc.
N114W19225 Clinton Dr.                                                      -
Germantown, WI 53022-3015

                                                                                                                                                                             0.00
Account No.                                                                     Kenosha Animal Hospital

Account Recovery Service Inc.
3031 N 114th St.                                                            -
Milwaukee, WI 53222-4208

                                                                                                                                                                         777.00
Account No.                                                                     Kenosha Pathology Consultants

Amercollect
PO Box 1566                                                                 -
814 S. 8th St.
Manitowoc, WI 54221-1566
                                                                                                                                                                         629.00
Account No.                                                                     Medical - UHS Physicians Clinic

Americollect
PO Box 1566                                                                 -
814 S. 8th St.
Manitowoc, WI 54221-1566
                                                                                                                                                                           97.00

                                                                                                                                        Subtotal
 6
_____ continuation sheets attached                                                                                                                                     1,503.00
                                                                                                                              (Total of this page)




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   In re         Steven Pulera, Sr.                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                       C   U   D
                   CREDITOR'S NAME,                                     O                                                            O   N   I
                   MAILING ADDRESS                                      D   H                                                        N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                  T   I   P
                                                                        B                                                            I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.              G   I   E
                  (See instructions above.)                             R                                                            E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                     Medical - UHS Physicians Clinic                          E
                                                                                                                                         D

Americollect
PO Box 1566                                                                 -
814 S. 8th St.
Manitowoc, WI 54221-1566
                                                                                                                                                               120.00
Account No.                                                                     Medical - UHS Physicians Clinic

Americollect
PO Box 1566                                                                 -
814 S. 8th St.
Manitowoc, WI 54221-1566
                                                                                                                                                                 63.00
Account No.                                                                     Medical - UHS Physicians Clinic

Americollect
PO Box 1566                                                                 -
814 S. 8th St.
Manitowoc, WI 54221-1566
                                                                                                                                                               213.00
Account No.                                                                     Medical - UHS Physicians Clinic

Americollect
PO Box 1566                                                                 -
814 S. 8th St.
Manitowoc, WI 54221-1566
                                                                                                                                                             1,929.00
Account No.                                                                     Medical - UHS Physicians Clinic

Americollect
PO Box 1566                                                                 -
814 S. 8th St.
Manitowoc, WI 54221-1566
                                                                                                                                                                 90.00

           1
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                             2,415.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Steven Pulera, Sr.                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                       C   U   D
                   CREDITOR'S NAME,                                     O                                                            O   N   I
                   MAILING ADDRESS                                      D   H                                                        N   L   S
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Account No.                                                                     Medical - UHS Physicians Clinic                          E
                                                                                                                                         D

Americollect
PO Box 1566                                                                 -
814 S. 8th St.
Manitowoc, WI 54221-1566
                                                                                                                                                               134.00
Account No.                                                                     Medical - UHS Physicians Clinic

Americollect
PO Box 1566                                                                 -
814 S. 8th St.
Manitowoc, WI 54221-1566
                                                                                                                                                               197.00
Account No.                                                                     attorney collecting for United Hospital System
                                                                                Inc.
Attorney John Raymond Bilka
935 S 8th St. Ste. 202                                                      -
Manitowoc, WI 54220

                                                                                                                                                             2,901.75
Account No.                                                                     Charged off credit card

Capital One Bank USA NA
PO Box 30281                                                                -
Salt Lake City, UT 84130

                                                                                                                                                             1,156.00
Account No.                                                                     Charged off credit card

Capital One Bank USA NA
PO Box 30281                                                                -
Salt Lake City, UT 84130

                                                                                                                                                             1,285.00

           2
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                             5,673.75
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Steven Pulera, Sr.                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                       C   U   D
                   CREDITOR'S NAME,                                     O                                                            O   N   I
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                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                     Time Warner Cable Wisc Equ                               E
                                                                                                                                         D

Choice Recovery Inc
PO Box 20790                                                                -
Columbus, OH 43220

                                                                                                                                                               300.00
Account No.                                                                     Psychiatric Psychotherapy Clinic

Credit Management Control
PO Box 1654                                                                 -
200 S Monroe Ave.
Green Bay, WI 54305
                                                                                                                                                               210.00
Account No.                                                                     Time Warner Cable Wisc Edu

FFCC - Columbus, Inc.
PO Box 20790                                                                -
Columbus, OH 43220

                                                                                                                                                               300.00
Account No.                                                                     Time Warner Cable Wisc Edu

FFCC - Columbus, Inc.
PO Box 20790                                                                -
Columbus, OH 43220

                                                                                                                                                               197.00
Account No.                                                                     HMG Kenosha

First Fed Credit Control
24700 Chagrin Blvd, Ste 205                                                 -
Beachwood, OH 44122-5630

                                                                                                                                                                   5.00

           3
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                             1,012.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Steven Pulera, Sr.                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                       C   U   D
                   CREDITOR'S NAME,                                     O                                                            O   N   I
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                                                                                                                                     N   A
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Account No.                                                                     Time Warner Cable                                        E
                                                                                                                                         D

Focus Receivables Management
1130 Northchase Parkway, Ste. 150                                           -
Marietta, GA 30067

                                                                                                                                                               197.00
Account No.                                                                     Infinity Healthcare Physicians

Nationwide Credit Corporation
5503 Cherokee Ave.                                                          -
Alexandria, VA 22312-2307

                                                                                                                                                               486.00
Account No.                                                                     Infinity Healthcare

Northeast Credit & Collections
PO Box 3358                                                                 -
Scranton, PA 18505-0358

                                                                                                                                                               486.00
Account No.                                                                     United Hospital System

Oliver Adjustment Co
3416 Roosevelt Road                                                         -
Kenosha, WI 53142

                                                                                                                                                               587.00
Account No.                                                                     United Hospital System

Oliver Adjustment Co
3416 Roosevelt Road                                                         -
Kenosha, WI 53142

                                                                                                                                                             1,228.00

           4
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                             2,984.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Steven Pulera, Sr.                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




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                   CREDITOR'S NAME,                                     O                                                            O   N   I
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                  (See instructions above.)                             R                                                            E   D   D
                                                                                                                                     N   A
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Account No.                                                                     United Hospital System                                   E
                                                                                                                                         D

Oliver Adjustment Co
3416 Roosevelt Road                                                         -
Kenosha, WI 53142

                                                                                                                                                             5,511.00
Account No.                                                                     United Hospital System

Oliver Adjustment Co
3416 Roosevelt Road                                                         -
Kenosha, WI 53142

                                                                                                                                                             1,359.00
Account No.                                                                     United Hospital System

Oliver Adjustment Co
3416 Roosevelt Road                                                         -
Kenosha, WI 53142

                                                                                                                                                               338.00
Account No.                                                                     United Hospital System

Oliver Adjustment Co
3416 Roosevelt Road                                                         -
Kenosha, WI 53142

                                                                                                                                                             4,087.00
Account No.

UHS Physicians Clinic
PO Box 130                                                                  -
Kenosha, WI 53141

                                                                                                                                                                   0.00

           5
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                           11,295.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Steven Pulera, Sr.                                                                                        Case No.
                                                                                                                  ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
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                  (See instructions above.)                             R                                                                  E   D   D
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Account No.                                                                                                                                    E
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United Hospital System
6308 8th Ave.                                                               -
Kenosha, WI 53143-5082

                                                                                                                                                                         0.00
Account No.                                                                     Pendrick Capital Partners

Virtuoso Sourcing Group
4500 Cherry Creek S Dr                                                      -
Ste. 300
Denver, CO 80264
                                                                                                                                                                     218.00
Account No.                                                                     Pendrick Capital Partners

Virtuoso Sourcing Group
4500 Cherry Creek S Dr                                                      -
Ste. 300
Denver, CO 80264
                                                                                                                                                                     233.00
Account No.                                                                     Pendrick Capital Partners

Virtuoso Sourcing Group
4500 Cherry Creek S Dr                                                      -
Ste. 300
Denver, CO 80264
                                                                                                                                                                     483.00
Account No.




           6
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                     934.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)                25,816.75


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    Account Recovery Service Inc.
    N114W19225 Clinton Dr.
    Germantown, WI 53022-3015

    Account Recovery Service Inc.
    3031 N 114th St.
    Milwaukee, WI 53222-4208

    Amercollect
    PO Box 1566
    814 S. 8th St.
    Manitowoc, WI 54221-1566

    Americollect
    PO Box 1566
    814 S. 8th St.
    Manitowoc, WI 54221-1566

    Americollect
    PO Box 1566
    814 S. 8th St.
    Manitowoc, WI 54221-1566

    Americollect
    PO Box 1566
    814 S. 8th St.
    Manitowoc, WI 54221-1566

    Americollect
    PO Box 1566
    814 S. 8th St.
    Manitowoc, WI 54221-1566

    Americollect
    PO Box 1566
    814 S. 8th St.
    Manitowoc, WI 54221-1566

    Americollect
    PO Box 1566
    814 S. 8th St.
    Manitowoc, WI 54221-1566

    Americollect
    PO Box 1566
    814 S. 8th St.
    Manitowoc, WI 54221-1566

    Americollect
    PO Box 1566
    814 S. 8th St.
    Manitowoc, WI 54221-1566




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Attorney John Raymond Bilka
935 S 8th St. Ste. 202
Manitowoc, WI 54220

Capital One Bank USA NA
PO Box 30281
Salt Lake City, UT 84130

Capital One Bank USA NA
PO Box 30281
Salt Lake City, UT 84130

Choice Recovery Inc
PO Box 20790
Columbus, OH 43220

Credit Management Control
PO Box 1654
200 S Monroe Ave.
Green Bay, WI 54305

FFCC - Columbus, Inc.
PO Box 20790
Columbus, OH 43220

FFCC - Columbus, Inc.
PO Box 20790
Columbus, OH 43220

First Fed Credit Control
24700 Chagrin Blvd, Ste 205
Beachwood, OH 44122-5630

Focus Receivables Management
1130 Northchase Parkway, Ste. 150
Marietta, GA 30067

Nationwide Credit Corporation
5503 Cherokee Ave.
Alexandria, VA 22312-2307

Northeast Credit & Collections
PO Box 3358
Scranton, PA 18505-0358

Oliver Adjustment Co
3416 Roosevelt Road
Kenosha, WI 53142

Oliver Adjustment Co
3416 Roosevelt Road
Kenosha, WI 53142




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Oliver Adjustment Co
3416 Roosevelt Road
Kenosha, WI 53142

Oliver Adjustment Co
3416 Roosevelt Road
Kenosha, WI 53142

Oliver Adjustment Co
3416 Roosevelt Road
Kenosha, WI 53142

Oliver Adjustment Co
3416 Roosevelt Road
Kenosha, WI 53142

TruStone Financial Credit Union
6218 26th Ave.
Kenosha, WI 53143

UHS Physicians Clinic
PO Box 130
Kenosha, WI 53141

United Hospital System
6308 8th Ave.
Kenosha, WI 53143-5082

Virtuoso Sourcing Group
4500 Cherry Creek S Dr
Ste. 300
Denver, CO 80264

Virtuoso Sourcing Group
4500 Cherry Creek S Dr
Ste. 300
Denver, CO 80264

Virtuoso Sourcing Group
4500 Cherry Creek S Dr
Ste. 300
Denver, CO 80264




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